           Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 1 of 113




 1   DAVID CHIU, State Bar #189542
     City Attorney
 2   WAYNE K. SNODGRASS, State Bar #148137
     JAMES M. EMERY, State Bar #153630
 3   KATE G. KIMBERLIN, State Bar #261017
     Deputy City Attorneys
 4   City Hall, Room 234
     1 Dr. Carlton B. Goodlett Place
 5   San Francisco, California 94102-5408
     Telephone: (415) 554-4628 (Emery)
 6                  (415) 554-3847 (Kimberlin)
     Facsimile:     (415) 554-4699
 7   E-Mail:        jim.emery@sfcityatty.org
                    kate.kimberlin@sfcityatty.org
 8
     Attorneys for Defendants
 9   CITY AND COUNTY OF SAN FRANCISCO;
     LONDON BREED, Mayor of San Francisco in her official capacity; and
10   CAROL ISEN, Human Resources Director, City and County
     of San Francisco, in her official capacity
11

12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15    SELINA KEENE, MELODY FOUNTILA,                 Case No. 22-cv-01587-JSW
      MARK MCCLURE,
16                                                   REQUEST FOR JUDICIAL NOTICE IN
             Plaintiffs,                             SUPPORT OF DEFENDANTS’ OPPOSITION
17                                                   TO PLAINTIFFS’ MOTION FOR
             vs.                                     PRELIMINARY INJUNCTION
18
      CITY and COUNTY OF SAN FRANCISCO;              Hearing Date:        July 8, 2022
19    LONDON BREED, Mayor of San Francisco in        Time:                9:00 a.m.
      her official capacity; CAROL ISEN, Human       Place:               Judge Jeffrey S. White
20    Resources Director, City and County of San                          Oakland Courthouse
      Francisco, in her official capacity; DOES 1-                        Courtroom 5 – 2nd Floor
21    100,                                                                1301 Clay Street
                                                                          Oakland, CA 94612
22           Defendants.
                                                     Trial Date:          None set.
23
                                                     Attachments:         Exhibits A - G
24

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      CCSF’S RJN ISO OPP. TO PLTS’ MPI                                      n:\govlit\li2022\220836\01603423.docx
      CASE NO. 22-cv-01587-JSW
            Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 2 of 113




 1          In support of the Opposition of Defendants CITY AND COUNTY OF SAN FRANCISCO,

 2   MAYOR LONDON BREED AND CAROL ISEN (“Defendants”) to Plaintiffs’ Motion for

 3   Preliminary Injunction, Defendants hereby request that this Court take judicial notice of the following

 4   documents pursuant to Sections 451 and 452 of the California Evidence Code:

 5          1.      Attached hereto as Exhibit A is a true and correct copy of the publicly available

 6   webpage maintained by the Centers for Disease Control and Prevention and entitled “United States

 7   COVID-19 Cases, Deaths, and Laboratory Testing (NAATs) by State, Territory, and Jurisdiction.” As

 8   of May 31, 2022, this webpage is available at https://covid.cdc.gov/covid-data-

 9   tracker/#cases_casesper100klast7days.

10          2.      Attached hereto as Exhibit B are true and correct copies of three publicly available

11   webpages maintained by the Centers for Disease Control and Prevention and entitled: 1) “Pfizer-

12   BioNTech COVID-19 Vaccine (also known as COMIRNATY) Overview and Safety.” As of May 31,

13   2022, this webpage is available at https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-

14   vaccines/Pfizer-BioNTech.html; 2) “Moderna COVID-19 Vaccine Overview and Safety.” As of May

15   31, 2022, this webpage is available at https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-

16   vaccines/Moderna.html; and, 3) “Johnson & Johnson’s Janssen COVID-19 Vaccine Overview and

17   Safety.” As of May 31, 2022, this webpage is available at https://www.fda.gov/emergency-

18   preparedness-and-response/coronavirus-disease-2019-covid-19/janssen-covid-19-vaccine.

19          3.      Attached hereto as Exhibit C are true and correct copies of four publicly available

20   webpages, as follows: 1) a webpage maintained by the Centers for Disease Control and Prevention,

21   entitled “Safety of COVID-19 Vaccines.” As of May 31, 2022, this webpage is available at

22   https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/safety-of-vaccines.html; 2) a webpage

23   maintained by the U.S. Food and Drug Administration, entitled “Learn More About COVID-19

24   Vaccines from the FDA.” As of May 31, 2022, this webpage is available at

25   https://www.fda.gov/consumers/consumer-updates/learn-more-about-covid-19-vaccines-fda; 3) a

26   webpage maintained by the California Department of Public Health, entitled “Vaccines.” As of May

27   31, 2022, this webpage is available at https://covid19.ca.gov/vaccines/; and, 4) a webpage maintained

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      CCSF’S RJN ISO OPP. TO PLTS’ MPI                    1                       n:\govlit\li2022\220836\01603423.docx
      CASE NO. 22-cv-01587-JSW
            Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 3 of 113




 1   by the San Francisco Department of Public Health, entitled “Core Guidance for COVID-19.” As of

 2   May 31, 2022, this webpage is available at https://sf.gov/information/core-guidance-covid-19.

 3          4.     Attached hereto as Exhibit D is a true and correct copy of a publicly available webpage

 4   maintained by the Centers for Disease Control and Prevention and entitled “COVID-19 Vaccines

 5   Work.” As of May 31, 2022, this webpage is available at https://www.cdc.gov/coronavirus/2019-

 6   ncov/vaccines/effectiveness/work.html.

 7          5.     Attached hereto as Exhibit E is a true and correct copy of the publicly available

 8   webpage maintained by the California Department of Public Health and entitled “Unvaccinated and

 9   vaccinated data.” As of May 31, 2022, this webpage is available at https://covid19.ca.gov/state-

10   dashboard/#postvax-status.

11          6.     Attached hereto as Exhibit F is a true and correct copy of the City and County of San

12   Francisco’s COVID-19 Vaccination Policy, last amended January 4, 2022.

13          7.     Attached hereto as Exhibit G are true and correct copies of three publicly available

14   webpages, as follows: 1) a webpage maintained by the Los Angeles County Department of Public

15   Health, entitled “Covid-19 Vaccine and Fetal Cell Lines.” As of May 31, 2022, this webpage is

16   available at: http://publichealth.lacounty.gov/media/Coronavirus/docs/vaccine/VaccineDevelopment_

17   FetalCellLines.pdf; 2) a webpage maintained by UCLA Health, entitled “COVID-19 Vaccine:

18   Addressing Concerns.” As of May 31, 2022, this webpage is available at: https://www.uclahealth.org/

19   conditions-we-treat/coronavirus/addressing-concerns; and 3) a webpage maintained by National

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      CASE NO. 22-cv-01587-JSW
            Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 4 of 113




 1   Geographic, entitled “Here are the facts about fetal cell lines and COVID-19 vaccines.” As of May 31,

 2   2022, this webpage is available at: https://www.nationalgeographic.com/science/article/here-are-the-

 3   facts-about-fetal-cell-lines-and-covid-19-vaccines.

 4

 5

 6   Dated: June 6, 2022
 7                                                DENNIS J. HERRERA
                                                  City Attorney
 8                                                WAYNE K. SNODGRASS
 9                                                JAMES M. EMERY
                                                  KATE KIMBERLIN
10                                                Deputy City Attorneys

11
                                              By: /s/ Kate G. Kimberlin
12                                               KATE G. KIMBERLIN
13                                                Attorneys for Defendants
                                                  CITY AND COUNTY OF SAN FRANCISCO,
14                                                MAYOR LONDON BREED and CAROL ISEN
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      CASE NO. 22-cv-01587-JSW
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 5 of 113




                 EXHIBIT A
CDC COVID Data Tracker: Cases, Deaths, and Testing        https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 6 of 113




1 of 5                                                                                                    5/31/2022, 12:40 PM
CDC COVID Data Tracker: Cases, Deaths, and Testing        https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 7 of 113




2 of 5                                                                                                    5/31/2022, 12:40 PM
CDC COVID Data Tracker: Cases, Deaths, and Testing        https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 8 of 113




3 of 5                                                                                                    5/31/2022, 12:40 PM
CDC COVID Data Tracker: Cases, Deaths, and Testing        https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 9 of 113




4 of 5                                                                                                    5/31/2022, 12:40 PM
CDC COVID Data Tracker: Cases, Deaths, and Testing         https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 10 of 113




5 of 5                                                                                                     5/31/2022, 12:40 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 11 of 113




                 EXHIBIT B
Pfizer-BioNTech COVID-19 Vaccine Overview and Safety | CDC        https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vaccines/Pfizer-BioNTech.html

                                 Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 12 of 113




1 of 7                                                                                                                                 5/31/2022, 12:47 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 13 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 14 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 15 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 16 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 17 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 18 of 113
Moderna COVID-19 Vaccine Overview and Safety | CDC                   https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vaccines/Moderna.html

                                 Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 19 of 113




1 of 5                                                                                                                             5/31/2022, 12:48 PM
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Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 21 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 22 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 23 of 113
Janssen COVID-19 Vaccine | FDA                                       https://www.fda.gov/emergency-preparedness-and-response/coronavirus-...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 24 of 113




           Janssen COVID-19 Vaccine is available under EUA to prevent COVID-19 in individuals 18 years of age and older
           for whom other FDA-authorized or approved COVID-19 vaccines are not accessible or clinically appropriate, and
           individuals 18 years of age and older who elect to receive the Janssen COVID-19 Vaccine because they would
           otherwise not receive a COVID-19 vaccine. For these individuals, the Janssen COVID-19 vaccine is authorized as
           a:

                 Single primary vaccination dose

                 Single booster dose at least two months after completing primary vaccination with the vaccine

                 Heterologous (or “mix and match”) single booster dose following completion of primary vaccination with a
                 different available COVID-19 vaccine. The dosing interval for the heterologous booster dose is the same as
                 that authorized for a booster dose of the vaccine used for primary vaccination. View COVID-19 vaccine
                 booster eligibility (/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/do-
                 i-qualify-covid-19-vaccine-booster-and-which-one).

           On February 27, 2021, FDA issued an EUA for the Janssen COVID-19 Vaccine to prevent COVID-19 in individuals
           18 years of age and older.

           On May 5, 2022, the U.S. Food and Drug Administration limited the authorized use of the Janssen COVID-19
           Vaccine to individuals 18 years of age and older for whom other authorized or approved COVID-19 vaccines are
           not accessible or clinically appropriate, and to individuals 18 years of age and older who elect to receive the
           Janssen COVID-19 Vaccine because they would otherwise not receive a COVID-19 vaccine.




1 of 5                                                                                                                 5/31/2022, 12:49 PM
Janssen COVID-19 Vaccine | FDA                                       https://www.fda.gov/emergency-preparedness-and-response/coronavirus-...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 25 of 113

           For the prevention of Coronavirus Disease 2019 (COVID-19) in individuals 18 years of age and older for whom
           other FDA-authorized or approved COVID-19 vaccines are not accessible or clinically appropriate, and in
           individuals 18 years of age and older who elect to receive the Janssen COVID-19 Vaccine because they would
           otherwise not receive a COVID-19 vaccine.




           The most commonly reported side effects were pain at the injection site, headache, fatigue, muscle aches and
           nausea. Most of these side effects occurred within 1-2 days following vaccination and were mild to moderate in
           severity and lasted 1-2 days. Learn more (/media/146305/download).




2 of 5                                                                                                                 5/31/2022, 12:49 PM
Janssen COVID-19 Vaccine | FDA                         https://www.fda.gov/emergency-preparedness-and-response/coronavirus-...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 26 of 113




3 of 5                                                                                                   5/31/2022, 12:49 PM
Janssen COVID-19 Vaccine | FDA                         https://www.fda.gov/emergency-preparedness-and-response/coronavirus-...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 27 of 113




            接受者和护理者须知                                                                   中文




            환자와 의료진을 위한 정보지                                                             한국어




4 of 5                                                                                                   5/31/2022, 12:49 PM
Janssen COVID-19 Vaccine | FDA                         https://www.fda.gov/emergency-preparedness-and-response/coronavirus-...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 28 of 113




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Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 29 of 113




                 EXHIBIT C
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 30 of 113
Safety of COVID-19 Vaccines | CDC                                        https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/safety-of-vaccines.html

                                    Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 31 of 113




2 of 3                                                                                                                               5/31/2022, 12:51 PM
Safety of COVID-19 Vaccines | CDC                                        https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/safety-of-vaccines.html

                                    Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 32 of 113




3 of 3                                                                                                                               5/31/2022, 12:51 PM
Learn More About COVID-19 Vaccines from the FDA | FDA             https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                         Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 33 of 113




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           The U.S. Food and Drug Administration approved Comirnaty (/vaccines-blood-biologics/comirnaty) for the
           prevention of COVID-19 in individuals 16 years of age and older.

                   Package insert - purple cap (/media/151707/download) or gray cap (/media/154834/download)

                   Frequently asked questions (/vaccines-blood-biologics/qa-comirnaty-covid-19-vaccine-mrna)




1 of 7                                                                                                              5/31/2022, 12:52 PM
Learn More About COVID-19 Vaccines from the FDA | FDA               https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 34 of 113

           The FDA approved Spikevax (/vaccines-blood-biologics/spikevax) for the prevention of COVID-19 in
           individuals 18 years of age and older.

                 Patient package insert (/media/155762/download)

                 Frequently asked questions (/vaccines-blood-biologics/qa-spikevax-covid-19-vaccine-mrna)

           Three COVID-19 vaccines are authorized for emergency use. The vaccines are:

           Pfizer BioNTech COVID-19 Vaccine (/emergency-preparedness-and-response/coronavirus-disease-2019-
           covid-19/comirnaty-and-pfizer-biontech-covid-19-vaccine)

                 Fact sheet (/media/144414/download) for recipients

                 Frequently asked questions (/emergency-preparedness-and-response/coronavirus-disease-2019-
                 covid-19/pfizer-biontech-covid-19-vaccine-frequently-asked-questions)

           Moderna COVID-19 Vaccine (/emergency-preparedness-and-response/coronavirus-disease-2019-covid-
           19/spikevax-and-moderna-covid-19-vaccine)

                 Fact sheet (/media/144638/download) for recipients

                 Frequently asked questions (/emergency-preparedness-and-response/coronavirus-disease-2019-
                 covid-19/moderna-covid-19-vaccine-frequently-asked-questions)

           Janssen (sometimes called Johnson & Johnson) COVID-19 Vaccine (/emergency-preparedness-and-
           response/coronavirus-disease-2019-covid-19/janssen-covid-19-vaccine)

                 Fact sheet (/media/146305/download) for recipients

                 Frequently asked questions (/emergency-preparedness-and-response/coronavirus-disease-2019-
                 covid-19/janssen-covid-19-vaccine-frequently-asked-questions)

           Emergency use authorization (EUA) allows these vaccines to be distributed in the U.S. Learn more
           (/vaccines-blood-biologics/vaccines/emergency-use-authorization-vaccines-explained) about EUAs for
           COVID-19 vaccines from the FDA’s Center for Biologics Evaluation and Research (CBER).




           The FDA is the regulatory authority with oversight of the safety, effectiveness and quality of vaccines that
           are used in the U.S., including COVID-19 vaccines. Career scientists and doctors at the FDA determine
           whether to approve or authorize COVID-19 vaccines after they thoroughly analyze and evaluate the data
           submitted by the manufacturer related to safety, effectiveness and manufacturing quality.

           During a public health emergency like the current COVID-19 pandemic, the FDA may issue an EUA when
           the agency’s scientific experts have determined, among other things, that the known and potential benefits
           of the vaccine outweigh its known and potential risks.

           For Comirnaty, the company submitted a Biologics License application (BLA) to FDA which built on the
           extensive data and information previously submitted that supported the EUA. This included preclinical and
           clinical data and information, as well as details of the manufacturing process, vaccine testing results to
           ensure vaccine quality, and inspections at the sites at which the vaccine is made.



2 of 7                                                                                                                5/31/2022, 12:52 PM
Learn More About COVID-19 Vaccines from the FDA | FDA              https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 35 of 113

           FDA employees are also fathers, mothers, daughters, sons, sisters, brothers and more. They and their
           families are directly impacted by the work they do.




           When you get a COVID-19 vaccine, you are choosing to protect yourself and make a difference for your
           children, parents, grandparents, and other loved ones. Millions of people in the U.S. have already received a
           COVID-19 vaccine. For a community to be fully protected, most community members need to get the
           vaccine. Getting vaccinated to prevent COVID-19 will help protect you from COVID-19, and it may also
           protect the people around you.




           Search vaccines.gov (https://www.vaccines.gov/search/), text your ZIP code to 438829, or call
           1-800-232-0233 to find COVID-19 vaccine locations near you in the U.S. In some states, information may
           be limited while vaccination providers and pharmacies are being added. Contact your state health
           department (https://www.cdc.gov/publichealthgateway/healthdirectories/healthdepartments.html) to find
           additional vaccination locations in your area.

           FDA-authorized or approved COVID-19 vaccines are distributed for free by states and local communities.
           You cannot buy COVID-19 vaccines online. You do not need to pay any out-of-pocket costs to get a
           COVID-19 vaccine — not before, during, or after your appointment. If someone asks you to pay for your
           vaccine, it is either a scam or a mistake.




           Yes. All FDA-approved and FDA-authorized COVID-19 vaccines prevent COVID-19 and serious health
           outcomes that COVID-19 can cause, including hospitalization and death. The FDA thoroughly evaluated
           and analyzed safety and effectiveness data for Comirnaty, the approved COVID-19 vaccine and those
           vaccines authorized for emergency use.

           In evaluating requests for emergency use authorization for COVID-19 vaccines, the FDA determined that
           the available data provided clear evidence that the known and potential benefits outweigh the known and
           potential risks of each vaccine.

           In evaluating the data and information included in the BLA for Comirnaty, the FDA determined that the
           vaccine is safe and effective and meets our rigorous standards for approval.




           The available information suggests that the approved vaccine and the authorized vaccines protect the
           American public against COVID-19 caused by currently circulating strains of the virus that causes
           COVID-19.

           Some variants are more contagious and spread more easily from person-to-person than the original virus
           that causes COVID-19. To help slow the spread of COVID-19, get a COVID-19 vaccine when it is available to
           you.



3 of 7                                                                                                               5/31/2022, 12:52 PM
Learn More About COVID-19 Vaccines from the FDA | FDA               https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 36 of 113



           The FDA evaluated data from clinical studies that included tens of thousands of people for Comirnaty, the
           FDA-approved COVID-19 vaccine, and for each of the COVID-19 vaccines authorized for emergency use.

           Authorized COVID-19 Vaccines

           The FDA has authorized three vaccines for emergency use because the data from clinical studies clearly
           showed that the known and potential benefits of the FDA-authorized COVID-19 vaccines outweighed the
           known and potential risks.

           Approved COVID-19 Vaccine

           The data to support the decision to approve Comirnaty builds on extensive data and information that
           supported the Pfizer-BioNTech COVID-19 Vaccine EUA , including information about the vaccine’s safety
           and effectiveness. The safety of Comirnaty was evaluated in individuals 16 years of age and older,
           approximately 22,000 of whom received the vaccine and 22,000 of whom received placebo. More than half
           of the clinical trial participants were followed for safety follow-up for at least four months after the second
           dose. After issuance of the EUA, clinical trial participants were unblinded in a phased manner over a period
           of months to offer placebo recipients the Pfizer-BioNTech COVID-19 Vaccine. Overall, in blinded and
           unblinded follow-up, approximately 12,000 vaccine recipients have been followed for at least 6 months.

           Allergic Reactions

           Allergic reactions, including cases of anaphylaxis have happened after some people received a COVID-19
           vaccine. Anaphylaxis is a severe, life-threatening allergic reaction that happens within seconds or minutes of
           exposure to an allergen. Because of this remote chance of severe allergic reaction or anaphylaxis, health care
           providers may ask you to stay at the place where you received your COVID-19 vaccine for monitoring for 15
           to 30 minutes.

           Myocarditis and Pericarditis Following Vaccination with Comirnaty, Moderna and Pfizer-
           BioNTech COVID-19 Vaccines

           Post-authorization safety surveillance data pertaining to myocarditis (inflammation of the heart muscle)
           and pericarditis (inflammation of the tissue surrounding the heart) demonstrate increased risks of
           myocarditis and pericarditis, particularly within 7 days following the second dose of the Comirnaty,
           Moderna, and Pfizer-BioNTech COVID-19 vaccines. For each of these vaccines, the risk is higher in males
           under 40 years of age than in females or older males.

           The Prescribing Information for Comirnaty and the Fact Sheets for Healthcare Providers Administering
           Vaccine (Vaccination Providers) for the Moderna and Pfizer-BioNTech COVID-19 vaccines include a
           warning about to the risk of myocarditis and pericarditis, and the Fact Sheet for Recipients and Caregivers
           includes information about myocarditis and pericarditis. The Fact Sheets for Recipients and Caregivers note
           that vaccine recipients should seek medical attention right away if they experience any of the following
           symptoms after vaccination:
           • Chest pain
           • Shortness of breath
           • Feelings of having a fast-beating, fluttering, or pounding heart




4 of 7                                                                                                                5/31/2022, 12:52 PM
Learn More About COVID-19 Vaccines from the FDA | FDA               https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 37 of 113

           Based on available information of the confirmed reported cases of myocarditis or pericarditis, most affected
           individuals were hospitalized and most responded well to treatment and rest, and their symptoms went
           away quickly.

           FDA and CDC are monitoring the reports, collecting more information, and will follow-up to assess longer-
           term outcomes over several months.

           Guillain Barré Syndrome Following Vaccination with Janssen COVID-19 Vaccine

           Guillain Barré syndrome (a neurological disorder in which the body’s immune system damages nerve cells,
           causing muscle weakness and sometimes paralysis) has occurred in some people who have received the
           Janssen COVID-19 Vaccine. In most of these people, symptoms began within 42 days following receipt of
           the Janssen COVID-19 Vaccine. The chance of having this occur is very low. The Fact Sheet for Healthcare
           Providers Administering Vaccine (Vaccination Providers) includes a warning about the suggested increased
           risk of Guillain Barré Syndrome (GBS) and the Fact Sheet for Recipients and Caregivers includes
           information about GBS. The Fact Sheet for Recipients and Caregivers notes that vaccine recipients should
           seek medical attention right away if they experience any of the following symptoms after receiving the
           Janssen COVID-19 Vaccine:
           • Weakness or tingling sensations, especially in the legs or arms, that’s worsening and spreading to other
           parts of the body
           • Difficulty walking
           • Difficulty with facial movements, including speaking, chewing, or swallowing
           • Double vision or inability to move eyes
           • Difficulty with bladder control or bowel function

           Blood Clots in Combination with Low Blood Platelets Following Vaccination with Janssen
           COVID-19 Vaccine

           As a result of ongoing safety monitoring, on April 13, 2021, the FDA and CDC recommended a temporary
           pause in the use of Janssen COVID-19 Vaccine, due to reports of a serious and rare type of blood clot in
           combination with low blood platelets (blood cells that help your body stop bleeding). This serious condition
           is called thrombosis with thrombocytopenia syndrome (TTS).

           On April 23, 2021, the FDA and CDC lifted the recommended pause (/news-events/press-announcements
           /fda-and-cdc-lift-recommended-pause-johnson-johnson-janssen-covid-19-vaccine-use-following-thorough)
           on the Janssen COVID-19 Vaccine after this thorough safety review. The Fact Sheet for Healthcare Providers
           Administering Vaccine (https://www.fda.gov/media/146304/download) (Vaccination Providers) to include
           a warning about the risk of blood clots with low blood platelets. The warning notes that people who
           developed blood clots with low blood platelets after receiving the Janssen COVID-19 Vaccine, symptoms
           began about 1 to 2 weeks after vaccination. Reporting of these blood clots with low levels of platelets has
           been highest in females ages 18 through 49 years. The Fact Sheet for Recipients and Caregivers
           (https://www.fda.gov/media/146305/download) also includes information about blood clots with low
           blood platelets after receiving the Janssen COVID-19 Vaccine and notes that vaccine recipients should seek
           medical attention right away if they experience any of the following symptoms after receiving the Janssen
           COVID-19 Vaccine:

                 Shortness of breath




5 of 7                                                                                                                5/31/2022, 12:52 PM
Learn More About COVID-19 Vaccines from the FDA | FDA               https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 38 of 113

                 Chest pain

                 Leg swelling

                 Persistent abdominal pain

                 Severe or persistent headaches or blurred vision

                 Easy bruising or tiny blood spots under the skin beyond the site of the injection

           These may not be all the possible side effects of Janssen COVID-19 Vaccine. Serious and unexpected side
           effects may occur.




           The FDA is publicly sharing information about COVID-19 vaccines so you can see the evidence for yourself.
           The FDA’s analysis of clinical trial data, including but not limited to demographic information about the
           clinical study volunteers, is available in the Summary Basis for Regulatory Action for Comirnaty and the
           decision memos that explain FDA’s basis for authorizing each vaccine for emergency use. In addition, for
           the authorized vaccines, an FDA Briefing Document for the Vaccines and Related Biological Products
           Advisory Committee is available, as noted below.




6 of 7                                                                                                                5/31/2022, 12:52 PM
Learn More About COVID-19 Vaccines from the FDA | FDA                https://www.fda.gov/consumers/consumer-updates/learn-more-about-cov...
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 39 of 113



           Yes. The FDA and the CDC have several systems in place to continually monitor COVID-19 vaccine safety.
           These systems, called “passive surveillance” and “active surveillance” systems, rapidly detect and investigate
           potential safety problems. Systems such as the Vaccine Adverse Event Reporting System
           (https://vaers.hhs.gov/) (VAERS) and CDC’s text-based v-safe (https://vsafe.cdc.gov/) system, which
           receive reports of adverse events following vaccination, are examples of passive surveillance systems. The
           FDA‘s BEST Initiative (https://www.bestinitiative.org/)      (http://www.fda.gov/about-fda/website-policies
           /website-disclaimer) is an example of an active surveillance system, which analyzes information occurring
           in millions of individuals recorded in large data systems to investigate any safety signals that are identified
           by VAERS or v-safe.




                 FDA: COVID-19 Vaccine Safety Monitoring (/vaccines-blood-biologics/safety-availability-biologics
                 /covid-19-vaccine-safety-surveillance)

                 FDA COVID-19 Vaccine Information: http://www.fda.gov/covid19vaccines (/emergency-
                 preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-vaccines)




7 of 7                                                                                                                 5/31/2022, 12:52 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 40 of 113




1 of 15                                                                                      5/31/2022, 12:53 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 41 of 113




2 of 15                                                                                      5/31/2022, 12:53 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 42 of 113
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 43 of 113




4 of 15                                                                                      5/31/2022, 12:53 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 44 of 113
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 45 of 113




6 of 15                                                                                      5/31/2022, 12:53 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 46 of 113
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 47 of 113




8 of 15                                                                                      5/31/2022, 12:53 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 48 of 113
Vaccines - Coronavirus COVID-19 Response                                           https://covid19.ca.gov/vaccines/
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 49 of 113




10 of 15                                                                                     5/31/2022, 12:53 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 50 of 113
Vaccines - Coronavirus COVID-19 Response                                           https://covid19.ca.gov/vaccines/
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 51 of 113




12 of 15                                                                                     5/31/2022, 12:53 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 52 of 113




13 of 15                                                                                     5/31/2022, 12:53 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 53 of 113
Vaccines - Coronavirus COVID-19 Response                                           https://covid19.ca.gov/vaccines/
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 54 of 113




15 of 15                                                                                     5/31/2022, 12:53 PM
Core Guidance for COVID-19 | San Francisco                               https://sf.gov/information/core-guidance-covid-19
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 55 of 113




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Core Guidance for COVID-19 | San Francisco                               https://sf.gov/information/core-guidance-covid-19
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 56 of 113




2 of 7                                                                                               5/31/2022, 12:54 PM
Core Guidance for COVID-19 | San Francisco                               https://sf.gov/information/core-guidance-covid-19
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 57 of 113




3 of 7                                                                                               5/31/2022, 12:54 PM
Core Guidance for COVID-19 | San Francisco                               https://sf.gov/information/core-guidance-covid-19
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 58 of 113




4 of 7                                                                                               5/31/2022, 12:54 PM
Core Guidance for COVID-19 | San Francisco                               https://sf.gov/information/core-guidance-covid-19
                       Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 59 of 113




5 of 7                                                                                               5/31/2022, 12:54 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 60 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 61 of 113
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 62 of 113




                 EXHIBIT D
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 63 of 113
COVID-19 Vaccines Work | CDC                                           https://www.cdc.gov/coronavirus/2019-ncov/vaccines/effectiveness/work.html

                               Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 64 of 113




2 of 2                                                                                                                      5/31/2022, 12:55 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 65 of 113




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Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 66 of 113
Tracking COVID-19 in California - Coronavirus COVID-19 Response      https://covid19.ca.gov/state-dashboard/#postvax-status
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 67 of 113




2 of 14                                                                                               5/31/2022, 12:58 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 68 of 113
Tracking COVID-19 in California - Coronavirus COVID-19 Response      https://covid19.ca.gov/state-dashboard/#postvax-status
                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 69 of 113




4 of 14                                                                                               5/31/2022, 12:58 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 70 of 113
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 71 of 113




                                                                  Episode date




                                                                   Death date




6 of 14                                                                                               5/31/2022, 12:58 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 72 of 113




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7 of 14                                                                                               5/31/2022, 12:58 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 73 of 113




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8 of 14                                                                                               5/31/2022, 12:58 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 74 of 113




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9 of 14                                                                                               5/31/2022, 12:58 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 75 of 113
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 76 of 113




11 of 14                                                                                              5/31/2022, 12:58 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 77 of 113




12 of 14                                                                                              5/31/2022, 12:58 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 78 of 113




13 of 14                                                                                              5/31/2022, 12:58 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 79 of 113




14 of 14                                                                                              5/31/2022, 12:58 PM
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 80 of 113




                 EXHIBIT F
               Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 81 of 113

City and County of San Francisco                                             Department of Human Resources
       Carol Isen                                                             Connecting People with Purpose
Human Resources Director                                                              www.sfdhr.org



                                             COVID-19 Vaccination Policy
                                                 Issued: 6/23/2021
                                                Amended 8/6/2021
                                                Amended 9/8/2021
                                               Amended 10/27/2021
                                               Amended 01/04/2022

     01/04/2022 Revision: This revision updates the vaccination policy for city employees who work in
     high-risk settings.

     Pursuant to state and local health order, city employees who work in high-risk settings are required to
     receive a COVID-19 booster vaccine by Tuesday, February 1, 2022. If an employee is not yet eligible for a
     booster vaccine, they must receive the booster within 15 days after becoming eligible.

     PURPOSE STATEMENT
     The City and County of San Francisco (City) must provide a safe and healthy workplace, consistent
     with COVID-19 public health guidance and legal requirements, to protect its employees and the
     public as it reopens services and returns more employees to workplaces.

     According to the federal Centers for Disease Control (CDC), the California Department of Public
     Health (CDPH), and the San Francisco County Health Officer, COVID-19 continues to pose a risk,
     especially to individuals who are not fully vaccinated, and certain safety measures remain necessary
     to protect against COVID-19 cases and deaths. Vaccination is the most effective way to prevent
     transmission and limit COVID-19 hospitalizations and deaths. Unvaccinated employees, interns,
     fellows, and volunteers are at greater risk of contracting and spreading COVID-19 within the
     workplace and City facilities, and to the public that depends on City services.

     To best protect its employees and others in City facilities, and fulfill its obligations to the public, all
     employees must, as a condition of employment: (1) report their vaccination status to the City; and (2)
     be fully vaccinated and report that vaccination status to the City no later than either the applicable
     deadline under the San Francisco Health Order, if it applies, or 10 weeks after the Federal Food &
     Drug Administration (FDA) giving final approval to at least one COVID-19 vaccine (November 1, 2021).

     LEGAL REQUIREMENTS
     On June 17, 2021, Governor Newsom issued Executive Order No. N-09-21, which implements new
     California Division of Occupational Safety and Health (Cal/OSHA) rules, effective June 17, 2021. These
     rules require employers to take specific measures to protect employees from COVID-19, including
     enforcing masking and quarantine requirements, and offering COVID-19 testing and time off, for
     employees who are unvaccinated or for whom the employer does not have documentation verifying
     they are fully vaccinated. The Cal/OSHA rules require employers to verify and document that an
     employee is fully vaccinated before allowing that employee to discontinue masking indoors. For
     unvaccinated employees or employees for whom the City does not have documentation verifying
     fully vaccinated status, the City must enforce masking, provide COVID-19 testing following a close
     contact in the workplace or anytime they have COVID-19 symptoms, and exclude these employees

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         workplace                     Document
                   for 10 days after a close       21-1
                                             contact. UponFiled 06/06/22
                                                           request, the City Page  82 of
                                                                             also must   113 non-
                                                                                       provide
vaccinated employees with respirators (N95 masks) and provide education about using that type of
mask.

On July 26, 2021 CDPH issued an Order (CDPH Vaccination Status Order) that workers in high-risk
and other healthcare settings must report their vaccination status no later than August 23, 2021.
The CDPH Vaccination Status Order also requires routine testing and more rigorous masking for
unvaccinated or only partially vaccinated personnel working in these settings.

On August 24, 2021, the San Francisco Health Officer updated the San Francisco Health Order
requiring all employers to determine the vaccination status of employees who routinely work onsite
in high-risk settings by no later than September 30, 2021 and precluding unvaccinated employees
from entering those facilities after that date, and precluding unvaccinated employees who may
occasionally or intermittently enter those settings from entering those facilities after October 13,
2021. This order further requires employees (among others) to remain masked in the workplace,
effectively superseding the Cal/OSHA COVID-19 Temporary Emergency Standard which allows
vaccinated employees who had documented that status to remove their masks.

On August 3, 2021 DHR issued a revised policy Face Coverings at Work Policy that can be found here:
https://sfdhr.org/sites/default/files/documents/COVID-19/Face-Covering-Requirements-at-
Work.pdf

On August 5, 2021, CDPH issued a new Order (Health Care Worker Vaccine Requirement) mandating
all workers who provide services or work in identified health care facilities to receive their final dose
of a vaccine regimen no later than September 30, 2021. The only exemptions to the Health Care
Worker Vaccine Requirement are for workers who have a documented and approved exemption
from vaccination on the basis of a sincerely-held religious belief or due to a qualifying medical
condition or restriction.

On December 22, 2021 CDPH issued an updated order requiring all healthcare workers in certain
health care facilities receive a booster vaccine by February 1, 2022.

On December 29, 2021, The San Francisco Health Officer updated the Safer Return Together Health
Order also requiring all workers in High-Risk Settings receive a booster vaccine by February 1, 2022.
Employees who are not currently eligible for a booster vaccine, are required to receive a booster
within 15 days after becoming eligible.

STATEMENT OF POLICY
Definition of “Employees” Under This Policy
For purposes of this policy only, the term “employees” includes all full, part-time, and as-needed City
employees regardless of appointment type, volunteers, interns, and City fellows (such as San
Francisco Fellows, McCarthy Fellows, Fish Fellows, and Willie Brown Fellows).

Definition of “High-Risk Settings”
High-Risk Settings are defined as; general acute care hospitals, skilled nursing facilities, intermediate
care facilities, residential care facilities for the elderly, homeless shelters, jails, dental offices, juvenile
justice centers, and pharmacies.




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          Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 83 of 113

 Requirement to Report Vaccination Status
 To protect the City’s workforce and the public that it serves, all City employees were required to
 report their vaccination status to the City by July 29, 2021 (with a subsequent extension to August 12,
 2021), by providing the following information:
     • employee is vaccinated (yes or no)
     • For employees who are vaccinated or partly vaccinated:
     • The type of vaccine obtained (Moderna, Pfizer, or Johnson & Johnson, or other vaccine
         received in approved clinical trials)
     • Date of first dose vaccine;
     • Date of second vaccine for a 2-dose vaccine;
     • Declaration under penalty of perjury that they have been fully vaccinated, and
     • Upload documentation verifying proof of vaccination status. Proof of vaccination can include a
         copy of the CDC COVID-19 Vaccination Record Card, documentation of vaccine from the
         employee’s healthcare provider, or documentation issued by the State of California by going
         to: https://myvaccinerecord.cdph.ca.gov/
To be fully vaccinated, 14 days must have passed since an employee received the final dose of a two-
shot vaccine or a dose of a one-shot vaccine. All unvaccinated employees must continue to comply
with masking, testing, and other safety requirements until they are fully vaccinated and have
reported and documented that status to the City consistent with this Policy. Employees who
previously reported that they were unvaccinated must update their status once they are fully
vaccinated.

All employees working in high-risk settings who are required to receive a booster vaccine must
report their booster vaccine in the employee portal no later than February 1, 2022. Employees who
are not yet eligible for a booster vaccine on or before February 1, 2022must report their booster
vaccine in the employee portal within five (5) days of receiving the booster.

Failure to comply with the reporting requirement may result in discipline, or non-disciplinary
separation from employment with the City for failure to meet the minimum qualifications of the job.

How to Report Vaccination Status
Volunteers, interns, and City fellows must verify that they are fully vaccinated to the Departmental
Personnel Officer or Human Resources professional by showing a copy of their CDC COVID-19
Vaccination Record Card, documentation from the individual’s healthcare provider, or documentation
issued by the State of California as described above. The department must retain documentation that
the individual’s vaccination status has been verified but must not retain copies of the individual’s
vaccination record.

All other employees must report their vaccination information and upload documentation verifying
that status into the City’s People & Pay system using the Employee Portal or by hand using the
COVID-19 Vaccination Status Form. Only City employees authorized to access employee personnel
information will have access to the medical portion of the file. The City will share information about
an employee’s vaccination status only on a need-to-know basis, including to the employee’s
department, managers, and supervisors for the purpose of enforcing masking, quarantining in the
event of a close contact, and other safety requirements.


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         Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 84 of 113

Vaccination Requirements for Employees
  1. City policy requires that all City employees routinely assigned to or working onsite in high-risk
      settings must receive their final dose of a vaccine regimen no later than September 30, 2021,
      unless they have been approved for an exemption from the vaccination requirement as a
      reasonable accommodation for a medical condition or restriction or sincerely held religious
      beliefs. Any employee who is requesting or has an approved exemption must still report their
      vaccination status to the City by the August 12, 2021 extended deadline.

      The vaccination and reporting requirements are conditions of City employment and a
      minimum qualification for employees who are routinely assigned to or working onsite in high-
      risk settings. Those employees who fail to meet the vaccination and reporting requirements
      under this Policy will be unable to enter the facilities and unable to perform an essential
      function of their job, and therefore will not meet the minimum requirements to perform their
      job.

  2. City policy requires that all City employees who are not otherwise covered by the SF Health
     Order, but who provide services or work in the health care facilities identified in the state’s
     order, must receive their final dose of a vaccine regimen no later than September 30, 2021,
     unless they have been approved for an exemption from the vaccination requirement as a
     reasonable accommodation for a medical condition or restriction or sincerely-held religious-
     beliefs. Any employee who is requesting or has an approved exemption must still report their
     vaccination status to the City by the August 12, 2021 extended deadline. The vaccination and
     reporting requirements are conditions of City employment and a minimum qualification for
     employees provide services or work in the health care facilities identified in the state’s order.
     Those employees who fail to meet the vaccination and reporting requirements under this
     Policy will be unable to enter the facilities and unable to perform an essential function of
     their job, and therefore will not meet the minimum requirements to perform their job.

  3. City policy requires that all City employees who in the course of their duties may enter or
     work in high-risk settings even on an intermittent or occasional basis or for short periods of
     time must be fully vaccinated –– no later than October 13, 2021, unless they have been
     approved for an exemption from the vaccination requirement as a reasonable
     accommodation for a medical condition or restriction or sincerely-held religious beliefs. Any
     employee who is requesting or has an approved exemption must still report their vaccination
     status to the City by the August 12, 2021 extended deadline. The vaccination and reporting
     requirements are conditions of City employment and a minimum qualification for employees
     who in the course of their duties may enter or work in high-risk settings even on an
     intermittent or occasional basis or for short periods of time. Those employees who fail to meet
     the vaccination and reporting requirements under this Policy will be unable to enter the
     facilities and therefore unable to perform an essential function of their job and will not meet
     the minimum requirements to perform their job.

  4. Volunteers, interns, and City fellows must be fully vaccinated – and must have reported that
     status and providing documentation verifying that status to the Departmental Human
     Resources personnel – as a condition of serving as a City volunteer, intern or fellow. Those
     already working and who do not fall under the SF Health Order must be fully vaccinated no
     later than October 13, 2021. Failure to comply with this policy will result in suspension of the

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           Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 85 of 113

       internship, fellowship, or volunteer opportunity until such time as the individual provides
       verification that they are fully vaccinated.

   5. All other City employees must be fully vaccinated as a condition of employment within ten
      weeks after the FDA provides final approval to at least one COVID-19 vaccine (November 1,
      2021). Employees who are not fully vaccinated by November 1, 2021 may not enter the
      workplace after that date. To maintain continuity of City operations, limited exceptions may
      be allowed for employees who demonstrate that they are partially vaccinated.

   6. To comply with the updated state health order issued on December 22, 2021 and county
      Health Order issued December 29,2021. Employees working in high-risk settings and eligible
      for the COVID-19 booster are required to receive their booster shot and report
      their booster vaccine status no later than February 1, 2022.
          • Employees who received their second dose of a two-dose COVID-19 vaccine before July
              1, 2021 and work in a High-Risk Setting are required to receive a booster by February 1,
              2022.
          • Employees who received one dose of a single dose COVID-19 vaccine prior to
              November 1, 2021 and work in a High-Risk Setting are required to receive a booster by
              February 1, 2022.

       Employees working in high-risk settings who are not yet eligible for the COVID-19 booster are
       required to receive a booster within 15 days after becoming eligible. These employees must
       report their booster vaccine status within five (5) days of receiving the booster.

       Employees with an approved exemption from the vaccination requirement are not required
       to receive a booster vaccine.

Office Environments
Departments have discretion, but are not required, to allow employees who work in office environments to work
remotely provided the employees have received at least one dose of a COVID- 19 vaccine regimen by November
1, 2021 and reported and documented that status to the City consistent with this Policy and the Department
receives approval from the City Human Resources Director.

This is allowable for a maximum of up to three days (or 24 hours) per week. The remaining two days (or 16
hours), which are intended to be spent in person in the workplace, employees may use their accrued vacation or
other non-sick leave time to cover those work hours that unvaccinated or partially vaccinated employees are
restricted from the workplace due to not being fully vaccinated as required by City Policy. Employees who are
partially vaccinated and have received written approval to work remotely after November 1, 2021 must report
and document that they are fully vaccinated no later than December 6, 2021.

Non-office Environments
Departments have discretion, but are not required, to allow employees to enter the workplace after November 1
provided the employees are required for continuity of operations within the departments, the employees have
received at least one dose of a COVID-19 vaccine regimen by November 1, 2021, and the employees have
reported and documented that status to the City consistent with this Policy. Employees who are permitted at the
worksite after November 1, 2021 must report and document that they are fully vaccinated no later than
December 6, 2021.

Employees who are not fully vaccinated against COVID-19 and who are permitted in the workplace after

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           Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 86 of 113

November 1, 2021 must continue to wear a well-fitted mask at all times while at the workplace. Departments are
strongly encouraged to require employees who are not yet fully vaccinated after November 1, 2021 to test at
least once weekly and provide proof of a negative COVID-19 test result until they are fully vaccinated and have
reported and documented that status to the City consistent with this Policy.

Failure to comply with this Policy may result in a disciplinary action, or non-disciplinary separation from
employment for failure to meet the minimum qualifications of the job.

Requesting an Exemption from the Vaccination Requirement
Employees with a medical condition or other medical restriction that affects their eligibility for a vaccine, as
verified by their medical provider, or those with a sincerely held religious belief that prohibits them from
receiving a vaccine, may request a reasonable accommodation to be excused from this vaccination requirement
but must still report their status by the August 12, 2021 extended deadline. The City will review requests for
accommodation on a case-by-case basis and engage in an interactive process with employees who submit such
requests. For some positions where fully vaccinated status is required to enter the facility where the employee
works, an accommodation may require transfer to an alternate vacant position, if available, in another
classification for which the employee meets the minimum qualifications. Requests for Reasonable
Accommodation forms and procedures can be found here: https://sfdhr.org/new-vaccine-and-face-covering-
policy-city- employees




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           Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 87 of 113


                             COVID-19 VACCINATION COMPLIANCE DEADLINES
                        ADDENDUM TO VACCINATION POLICY AMENDED AUGUST 5,2021
Below are the vaccination status reporting deadlines for City employees.
                           COVID-19 VACCINATION STATUS REPORTING DEADLINES
 July 29, 2021              Reporting Deadline
 August 12, 2021            Grace Period - Final day to report vaccination status

Below are the vaccination deadlines for City employees. City employees working in high-risk settings are subject
to non-disciplinary release if not vaccinated by the deadlines referenced below for failure to meet the minimum
qualifications of their jobs

                           COVID-19 VACCINATION DEADLINES BY EMPLOYEE TYPE
    Employees who are        Must receive their final dose of a vaccine regimen no later than September 30, 2021 and
  assigned to or routinely   receive and report booster vaccination, if eligible, by February 1, 2022.
  work onsite in High-Risk
  Settings or other Health    • Moderna: First shot no later than September 2,2021; Second shot no later than
                                   September 30, 2021.
       Care Facilities
                                    Eligible to receive booster vaccine if primary vaccine series was completed before
                                   July 1, 2021
                              • Pfizer: First shot no later than September 9,2021; Second shot no later than
                                   September 30, 2021.
                                    Eligible to receive booster vaccine if primary vaccine series was completed before
                                   July 1, 2021
                               • Johnson & Johnson: First shot no later than September 30, 2021.
                                    Eligible to receive booster vaccine if primary vaccine was completed before
                                    November 1, 2021
 Employees intermittently       Must be fully vaccinated no later than October 13, 2021 and receive and report booster
 or occasionally working in     vaccination, if eligible, by February 1, 2022.
    “High-Risk Settings”
                                • Moderna: First Shot no later than September 1, 2021; Second Shot no later than
                                    September 29, 2021
                                    Eligible to receive booster vaccine if primary vaccine series was completed before
                                    July 1, 2021
                                • Pfizer: First Shot no later than September 8, 2021; Second Shot no later than
                                    September 29, 2021
                                    Eligible to receive booster vaccine if primary vaccine series was completed before
                                    July 1, 2021
                                • Johnson & Johnson: First Shot no later than September 29, 2021
                                     Eligible to receive booster vaccine if primary vaccine was completed before
                                     November 1, 2021
   All other employees not      • be fully vaccinated no later than November 1, 2021.
                               Must
  working in “High-Risk” or      • Moderna: First shot no later than September 20, 2021; Second shot no later
  other health care settings       than October 18, 2021.
                                 • Pfizer: First shot no later than September 27,2021; Second shot no later than
                                   October 18, 2021.
                                Johnson & Johnson: First shot no later than October 18, 2021.
                                For continuity of City operations limited exceptions may be made for partially
                                vaccinated employees. Such employees must report and document they are fully
                                vaccinated no later than December 6, 2021.

                             Office environments: Departments have discretion to allow employees to work
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                             remotely, if they are not fully vaccinated, but have received at least the first dose of a
                             COVID-19 vaccine series. Written approval required
          Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 88 of 113
CCSF Vaccination Policy
Issued 6/18/2021, Amended 01/04/2022




                                                                               8
Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 89 of 113




                 EXHIBIT G
              Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 90 of 113
           Los Angeles County
           COVID-19 VACCINE AND FETAL CELL LINES

   In various stages of vaccine development and manufacturing, some of the COVID-19 vaccines used cells
   originally isolated from fetal tissue (often referred to as fetal cells), some of which were originally derived
   from an aborted fetus. The use of fetal cell lines is a very sensitive and important topic within some faith
   communities and among individuals with concerns about the ethics of using materials derived in this
   way.

   It is crucial for everyone to have all of the appropriate information to make a fully informed decision
   regarding COVID-19 vaccination. For those with questions or concerns about the use of fetal cell lines in
   vaccine development, please view the information presented in this handout and keep the following
   considerations in mind when making your vaccine decision:
         • For us to break the chain of disease transmission and protect our community from COVID-19, we
            will need the vast majority of the public to get vaccinated against the virus.
         • Vaccinating not only protects you, but may also protect your family, friends, and those in our
            community most vulnerable to severe disease from COVID-19.
         • The risks and benefits of COVID-19 vaccination will vary from person to person, and individuals
            may want to consider discussing this with their own healthcare provider.
         • Several religious and bioethics groups have reviewed and commented on the ethical
            considerations of receiving the current COVID-19 vaccines. Many of those considerations are
            cited below.
         • While vaccine supply remains limited, you may not be given a choice on which COVID-19 vaccine
            you can receive.
         • Individuals may want to consider having a personal conversation with their faith leader or
            someone experienced in bioethics.


                            Why are fetal cells used to make vaccines?
   Historical fetal cell lines were derived in the 1960’s and 1970’s from two elective abortions and have been
   used to create vaccines for diseases such as hepatitis A, rubella, and rabies. Abortions from which fetal
   cells were obtained were elective and were not done for the purpose of vaccine development.

   The fetal cell lines being used to produce some of the potential COVID-19 vaccines are from two sources:
      ● HEK-293: A kidney cell line that was isolated from a fetus in 1973 (undisclosed origin, from either
          a spontaneous miscarriage or an elective abortion)
      ● PER.C6: A retinal cell line that was isolated from an aborted fetus in 1985

   Any vaccine that relies on these historic cell lines will not require nor solicit new abortions.

   To develop and manufacture some vaccines, pharmaceutical companies prefer human cell lines over
   other cells because 1) viruses need cells to grow and the viruses tend to grow better in cells from humans
   than animals (because they infect humans), 2) fetal cells can be used longer than other cell types, and 3)
   fetal cells can be maintained at low temperatures, allowing scientists to continuing using cell lines from
   decades ago. While fetal cell lines may be used to develop or manufacture COVID-19 vaccines, the
   vaccines themselves do not contain any aborted fetal cells. A comprehensive list of COVID-19 vaccines
   in development and any connection to abortion-derived cell lines is available here.

Los Angeles County Department of Public Health
VaccinateLACounty.com                                    -1-
Fetal Cell Lines 4/20/21
              Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 91 of 113
           Los Angeles County
           COVID-19 VACCINE AND FETAL CELL LINES

     Were the Pfizer and Moderna COVID-19 vaccines developed using fetal cell
                                    lines?
   The mRNA COVID-19 vaccines produced by Pfizer and Moderna do not require the use of any fetal cell
   cultures in order to manufacture (produce) the vaccine.

   Early in the development of mRNA vaccine technology, fetal cells were used for “proof of concept” (to
   demonstrate how a cell could take up mRNA and produce the SARS-CoV-2 spike protein) or to
   characterize the SARS-CoV-2 spike protein.

   The Pfizer and Moderna vaccines were found to be ethically uncontroversial by the pro-life policy
   organization the Charlotte Lozier Institute. Further, the Secretariat of Pro-Life Activities, a committee
   within the United States Conference of Catholic Bishops, has stated: “neither Pfizer nor Moderna used an
   abortion-derived cell line in the development or production of the vaccine. However, such a cell line was
   used to test the efficacy of both vaccines. Thus, while neither vaccine is completely free from any use of
   abortion-derived cell lines, in these two cases the use is very remote from the initial evil of the
   abortion…one may receive any of the clinically recommended vaccines in good conscience with the
   assurance that reception of such vaccines does not involve immoral cooperation in abor tion.”


      Was the Johnson & Johnson (Janssen Pharmaceuticals) COVID-19 vaccine
                         developed using fetal cell lines?
   The non-replicating viral vector vaccine produced by Johnson & Johnson did require the use of fetal
   cell cultures, specifically PER.C6, in order to produce and manufacture the vaccine. The Catholic
   Church and the Southern Baptist Ethics & Religious Liberty Commission have both stated that receiving
   a COVID-19 vaccine that required fetal cell lines for production or manufacture is morally
   acceptable. The U.S. Conference of Catholic Bishops goes further and has stated: “receiving a COVID-19
   vaccine ought to be understood as an act of charity toward the other members of our community. In this
   way, being vaccinated safely against COVID-19 should be considered an act of love of our neighbor and
   part of our moral responsibility for the common good...Given the urgency of this crisis, the lack of
   available alternative vaccines, and the fact that the connection between an abortion that occurred
   decades ago and receiving a vaccine produced today is remote, inoculation with the new COVID -19
   vaccines in these circumstances can be morally justified.”

   On March 2 nd, 2021, the U.S. Conference of Catholic Bishops issued a statement which addressed the use
   of Johnson & Johnson’s COVID-19 vaccine. The Bishops stated: “if one can choose among equally safe
   and effective COVID-19 vaccines, the vaccine with the least connection to abortion-derived cell lines
   should be chosen. Therefore, if one has the ability to choose a vaccine, Pfizer or Moderna’s vaccines
   should be chosen over Johnson & Johnson’s…While we should continue to insist that pharmaceutical
   companies stop using abortion-derived cell lines, given the world-wide suffering that this pandemic is
   causing, we affirm again that being vaccinated can be an act of charity that serves the common good.”

   The Catholic Church has stated, “Those who, however, for reasons of conscience, refuse vaccine produced
   with cell lines from aborted fetuses, must do their utmost to avoid, by other prophylactic means and

Los Angeles County Department of Public Health
VaccinateLACounty.com                                 -2-
Fetal Cell Lines 4/20/21
              Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 92 of 113
           Los Angeles County
           COVID-19 VACCINE AND FETAL CELL LINES

   appropriate behavior, becoming vehicles for the transmission of the infectious agent. In particular, they
   must avoid any risk to the health of those who cannot be vaccinated for medical or other reasons, and
   who are the most vulnerable.”


                                 Where can I find more information?
   Some religious groups and bioethics institutes that oppose the use of aborted fetal cells in the
   development or manufacturing of vaccines have noted that individuals may ethically receive these
   vaccines when there are no ethically derived alternatives.

   For more information from these groups on this issue, check out the following links:
       ● National Catholic Bioethics Center
       ● Pontifical Academy of Life Statement
       ● United States Conference of Catholic Bishops
       ● The Vatican – Congregation for the Doctrine of the Faith
       ● The North Dakota Catholic Conference
       ● Charlotte Lozier Institute
       ● The Pillar – The ultimate Catholic coronavirus vaccine morality explainer


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Los Angeles County Department of Public Health
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 93 of 113




1 of 7                                                                                                       5/31/2022, 3:12 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 94 of 113




2 of 7                                                                                                       5/31/2022, 3:12 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 95 of 113




3 of 7                                                                                                       5/31/2022, 3:12 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 96 of 113




4 of 7                                                                                                       5/31/2022, 3:12 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 97 of 113




5 of 7                                                                                                       5/31/2022, 3:12 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 98 of 113



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6 of 7                                                                                                           5/31/2022, 3:12 PM
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                      Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 99 of 113




7 of 7                                                                                                       5/31/2022, 3:12 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 100 of 113




1 of 14                                                                                                                5/31/2022, 3:24 PM
Here are the facts about fetal cell lines and COVID-19 vaccines   https://www.nationalgeographic.com/science/article/here-are-the-facts-a...
                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 101 of 113




           In the wake of federal vaccine mandates in the
           U.S., debate has erupted over the waves of fire
           fighters,police staff, and other workers who
           have applied for religious exemptions to
           getting their COVID-19 shots. The number of
           applications is likely to spike as the January 4
           vaccination deadline nears for large private
           businesses and some healthcare facilities. And
           one common reason people give for religious
           exemptions is the link between vaccines and
           human fetal cells.

           It’s true that such cells have been used either in
           the testing or development and production of
           COVID-19 vaccines. The cells are grown in a
           laboratory and were derived from a few elective
           abortions performed more than three decades
           ago. These same cell lines are also used to test
           and advance our understanding of several
           routine drugs, including acetaminophen,
           ibuprofen, and aspirin, and they continue to be
           used for treatment research in diseases such as
           Alzheimer’s and hypertension.

           “So many people don’t realize how important
           fetal cell lines are to develop life-saving
           medicines and vaccines that they rely on every
           day,” says Amesh Adalja, an infectious disease


2 of 14                                                                                                                5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 102 of 113

           expert at Johns Hopkins Center for Health
           Security. “Their use in developing COVID-19
           vaccines isn’t anything different or special.”

           For some religious leaders, the science is
           informing their recommendations. In a
           December 2020 statement, the U.S.
           Conference of Catholic Bishops referred to
           these cell lines as morally compromised for
           their connection, albeit remote, with abortions.
           But they reiterated the message from the
           Vatican justifying the use of vaccines, lacking
           alternatives, as an act of charity and moral
           responsibility in situations of serious health
           danger, such as the COVID-19 pandemic.

           Although it’s unclear how many religious
           exemptions for COVID-19 shots have been
           granted so far, those applying are required to
           prove “religious sincerity” and in some cases
           attest that they will also avoid the routine
           drugs developed using fetal cells.




           But doctors worry that some people’s
           objections may stem in part from
           misunderstandings of the science. Richard
           Zimmerman, a family medicine specialist at the



3 of 14                                                                                                                5/31/2022, 3:24 PM
Here are the facts about fetal cell lines and COVID-19 vaccines   https://www.nationalgeographic.com/science/article/here-are-the-facts-a...
                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 103 of 113

           University of Pittsburgh School of Medicine
           and a part-time physician at Pittsburgh’s East
           Liberty Family Health Care Center, says that
           some of his patients have voiced scepticism
           because they believe the COVID-19 vaccines
           contain cells from aborted fetuses. This is
           incorrect.

           Here is the history of how fetal cells are used in
           drug development, where the cells come from,
           and why it’s been so hard to find alternatives.




           Unlike bacteria, viruses need a host to survive;
           they can only grow and reproduce inside the
           host cells they infect. Vaccines typically deliver
           small doses of weakened or inactivated
           versions of the virus, or key parts of it, to give
           the host body a preview of the pathogen
           without causing illness. This enables the
           immune system to remember a specific virus
           and how to destroy it if the body ever
           encounters the germ in the future.

           To mass produce vaccines, manufacturers need
           a way to make enormous quantities of the viral
           components.

           Scientists use fertilized chicken eggs, for
           instance, as hosts to multiply influenza viruses
           and produce the annual flu vaccines. But


4 of 14                                                                                                                5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 104 of 113

           vaccines manufacturers prefer to grow the
           virus in mammal cells, mainly because they
           help prevent the virus from mutating and help
           scale production.

           In the early days, scientists used animal cells.
           But they later realized that these cells can
           harbor other undesirable animal viruses, which
           would then contaminate the vaccine. For
           instance, an early version of the polio vaccine
           administered extensively between 1955 and
           1963 was produced using monkey cells. But
           scientists later found out the cells were
           contaminated with a monkey virus called
           SV40.

           The other issue was that some human viruses
           didn’t grow as well in non-human animal cells.
           So scientists turned to human fetal cells to
           produce vaccine viruses.




           “They were known to rarely contain
           contaminating viruses,” says cell biologist
           Leonard Hayflick at the University of
           California, San Francisco. He created the
           oldest fetal cell strain, known as WI-38, from
           an elective abortion in Sweden in the early



5 of 14                                                                                                                5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 105 of 113

           1960s. Hayflick knew that human fetal cells,
           unlike adult human cells, were less likely to
           contain unwanted viruses.

           Over the years, though, scientists have
           identified other animal cells that could be
           safely used to develop vaccines against certain
           viruses. African green monkey kidney cells, for
           instance, have been used to develop several
           vaccines, including certain ones for polio and
           smallpox.

           But especially with new human viruses, “there
           is preference for using a human cell line,” says
           Alessondra Speidel, a biomaterials scientist at
           Sweden’s Karolinska Institute, possibly
           because they’re likely to infect and grow better
           in human than animal cells.




           To create fetal cell strains, scientists must
           isolate millions of cells from tiny pieces of
           tissue collected from a dead embryo. Each cell
           can divide into two nearly 50 times. And these
           cells can be frozen—or in some cases,
           immortalized—so that today the cells being
           used come from tissue collected decades ago.

           Hayflick, for instance, has frozen ten million
           human fetal lung cells—derived from one
           aborted fetus—in each of 700 glass vials after
           the original cell population had doubled seven


6 of 14                                                                                                                5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 106 of 113

           times. Given their potential to continue
           doubling at least another 30 times, each vial
           can yield “tens of thousands of kilos of cells,”
           he says. “That’s enough cells to supply the
           world's vaccine manufacturers with WI-38
           cells for several years.” These lung cells are
           currently used to produce vaccines for
           varicella, rubella, hepatitis A, and rabies. Other
           scientists have transformed fetal kidney and
           retinal cells so that they become immortal,
           dividing forever. The PER.C6 cell line, for
           instance, is derived from immortalized retinal
           cells from an 18-week-old fetus aborted in
           1985.




           Johnson & Johnson uses PER.C6 to produce its
           COVID-19 vaccine. The company used these
           cells to grow adenoviruses—modified so that
           they wouldn’t replicate or cause disease—that
           were then purified and used to deliver the
           genetic code for SARS-CoV-2’s signature spike
           protein. The J&J vaccine does not contain any
           of the fetal cells that once housed the
           adenovirus because they were extracted and
           filtered out.

           Pfizer and Moderna used another immortal cell


7 of 14                                                                                                                5/31/2022, 3:24 PM
Here are the facts about fetal cell lines and COVID-19 vaccines   https://www.nationalgeographic.com/science/article/here-are-the-facts-a...
                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 107 of 113

           line, HEK-293, derived from the kidney of a
           fetus aborted in the 1970s. The cells were used
           during development to confirm that the genetic
           instructions for making the SARS-CoV-2 spike
           protein worked in human cells. This was like a
           proof-of-concept test, Speidel says, and the
           fetal cells were not used to produce either of
           these mRNA vaccines.

           “The issue is whether one believes that it is
           ethically acceptable to develop and use life-
           saving medicines, vaccines, and treatments
           that are dependent on a cell line that was
           created using aborted human fetal cells a half
           century ago,” says Frank Graham, a molecular
           virology and medicine expert and emeritus
           professor at Canada’s McMaster University,
           who created the HEK-293 cell line.

           Even if future vaccines can somehow avoid the
           use of these fetal cell lines, it’s hard to ignore
           their foundational role. The same applies to the
           widespread use of these cells in studying
           several common diseases like diabetes and
           hypertension and advancing their treatments.

           And beyond the science, the message that has
           resonated most with several of Zimmerman’s
           vaccine-hesitant patients is one of altruism.
           “Nobody wants to be the one who triggers an
           infectious disease on their loved one,” he says.




8 of 14                                                                                                                5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 108 of 113




9 of 14                                                                                                                5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 109 of 113




10 of 14                                                                                                               5/31/2022, 3:24 PM
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                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 110 of 113




11 of 14                                                                                                               5/31/2022, 3:24 PM
Here are the facts about fetal cell lines and COVID-19 vaccines   https://www.nationalgeographic.com/science/article/here-are-the-facts-a...
                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 111 of 113




12 of 14                                                                                                               5/31/2022, 3:24 PM
Here are the facts about fetal cell lines and COVID-19 vaccines   https://www.nationalgeographic.com/science/article/here-are-the-facts-a...
                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 112 of 113




13 of 14                                                                                                               5/31/2022, 3:24 PM
Here are the facts about fetal cell lines and COVID-19 vaccines   https://www.nationalgeographic.com/science/article/here-are-the-facts-a...
                        Case 4:22-cv-01587-JSW Document 21-1 Filed 06/06/22 Page 113 of 113




14 of 14                                                                                                               5/31/2022, 3:24 PM
